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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JAMES H. BRADY,

                                   Plaintiff,

              -against-
                                                           16-cv-2287 (GBD) (SN)
JOHN GOLDMAN, ESQ., and JUSTIN SINGER,
ESQ., individually and as members of HERRICK
FEINSTEIN LLP; DANIEL R. MILSTEIN, ESQ.
and STEVEN SINATRA, ESQ., individually and
as members of
GREENBERG TRAURIG LLP; RICHARD M.
ZUCKERMAN, ESQ., individually and as
member of DENTONS US LLP; JOSEPH P.
AUGUSTINE, ESQ., individually and as member
of AUGUSTINE & EBERLE LLP; MARK K.
ANESH, ESQ. and JAIME WOZMAN, ESQ.,
individually and as members of LEWIS
BRISBOIS, BISGAARD & SMITH LLP; JUSTIN
Y.K. CHU, ESQ., individually and as member of
STEPTOE & JOHNSON; and ADAM
RICHARDS, ESQ., individually and as member of
O’REILLY, STOUTENBERG, RICHARDS,
LLP.,

                                   Defendants.



    DEFENDANTS JUSTIN Y.K. CHU AND STEPTOE & JOHNSON LLP’S
MEMORANDUM IN SUPPORT OF THEIR MOTION TO DISMISS THE COMPLAINT
  AND JOINDER IN THE MEMORANDA FILED BY OTHER DEFENDANTS IN
              SUPPORT OF THEIR MOTIONS TO DISMISS
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          Defendants Justin Y.K. Chu and Steptoe & Johnson LLP respectfully submit this

memorandum in support of their motion to dismiss with prejudice the complaint of plaintiff

James H. Brady (“Complaint” or “Complt.”), pursuant to Fed. R. Civ. P. 9(b), 12(b)(1) and

12(b)(6). For efficiency purposes, Mr. Chu and Steptoe & Johnson LLP respectfully join in, and

adopt as if fully set forth herein, the legal arguments set forth in two memoranda of law (and

supporting papers) filed by other defendants in support of their motions to dismiss and for

additional relief barring future proceedings by plaintiff. 1 The few additional factual matters

specific to Mr. Chu and Steptoe & Johnson LLP, as alleged in the Complaint, will be set forth

herein.


          The Complaint alleges that Plaintiff has been engaged in over nine years of litigation

concerning certain “air rights” he claims that he, and not his co-op building, owns. (E.g.,

Complt. ¶ 98; see also LBBS MTD Mem. Statement of Facts Section A and GT MTD Mem. pp.

3-11 for the procedural history of the numerous lawsuits Plaintiff has filed.) Despite repeated

and varied proceedings in which Plaintiff has advanced these claims, no court has ruled that

Plaintiff’s alleged “air rights” were infringed or violated by any defendant. Indeed, Plaintiff has

been repeatedly rebuked and sanctioned in response to his litigation campaigns. In willful

disregard of these admonishments, Plaintiff here expands the group of defendants against whom

he seeks relief to include lawyers and law firms who, like Mr. Chu and Steptoe & Johnson LLP,

appeared as defense counsel to Plaintiff’s litigation adversaries in one of his lawsuits. (See

Complt. ¶ 56 (“In November 2013, I filed two lawsuits against the clients of named

Defendants….”; see also id. ¶ 59 (pp. 16 & 19).)

1
  See ECF Docket Nos. 15-17; 19-22. The Memorandum filed by Defendants Lewis Brisbois Bisgaard and Smith
LLP, Mark K. Anesh and Jaime R. Wozman shall be referred to herein as “LBBS MTD Mem.” and the
Memorandum filed by Defendants Greenberg Traurig LLP, Steven Sinatra and Daniel R. Milstein shall be referred
to herein as “GT MTD Mem.”

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         Other than in the caption, the Complaint specifically mentions Mr. Chu and Steptoe &

Johnson LLP only three times:


         1. Complt. ¶ 15 (alleging the business address of Mr. Chu and Steptoe & Johnson LLP);
         2. Complt. ¶ 60 p. 16 (under the headline “Steptoe and Johnson LLP. Attorneys for
            Greenberg Traurig LLP. and Deirdre Carson” purporting to quote from the
            “Memorandum of Law in Support of Greenberg Traurig’s Motion to Dismiss, January
            15, 2014, page 2”); and
         3. Complt. ¶ 60 pp. 19-20 (under the headline “Justin Chu, attorney for Greenberg
            Traurig LLP”, purporting to quote certain questions and answers between the court
            and Mr. Chu during a March 18, 2014 hearing). 2

The remainder of Plaintiff’s Complaint accuses “lawyers and law firms” or “officers of the

court” of various wrongdoing (e.g., Complt. ¶¶ 1, 2, 5), including during many years that predate

the time Mr. Chu and Steptoe & Johnson LLP first appeared on behalf of their clients in one of

the 2013 proceedings (compare Complt. ¶¶ 21-53 (allegations predating the 2013 lawsuit) with

id. ¶¶ 56, 60 (allegations postdating the filing of the 2013 lawsuit)).


         In essence, Plaintiff seeks to hold Mr. Chu and Steptoe & Johnson LLP liable to Plaintiff

for filing a motion to dismiss his claims against their clients, a motion the court ultimately—and

properly—granted in the July 15, 2015 decision Plaintiff asks this Court to “vacate”. (E.g.,

Complt. ¶ 5 & Ex. H.) For the reasons set forth in the LBBS MTD Memorandum and the GT

MTD Memorandum, Plaintiff’s Complaint must be dismissed in its entirety against Mr. Chu and

Steptoe & Johnson on the following grounds:


                 First, the Court lacks subject matter jurisdiction. The Complaint fails to
         plead facts establishing complete diversity of citizenship between Plaintiff and
         each of the members of the many limited liability partnership law firms he named
         as defendants. In addition, under the Rooker-Feldman doctrine, this Court lacks
         jurisdiction to conduct the appellate review of a state court judgment loss the

2
 In Paragraph 71, the Complaint refers to $79,264 in attorneys fees and costs payable by Plaintiff to “Greenberg
Traurig”, the client of Mr. Chu and Steptoe & Johnson LLP, as sanctions arising from Plaintiff’s litigation conduct.

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       Complaint seeks to “vacate.” E.g., Hoblock v. Albany Cnty ltd. of Flees., 422 F.3d
       77, 84 (2d Cir. 2005). As a result, the Complaint must be dismissed pursuant to
       Rule 12(b)(1). (See LBBS Mem. Argument Section I.A&B.; GT Mem. Argument
       Section I.A&B.)
               Second, the Complaint’s claims for relief are barred by collateral estoppel
       principles. (See LBBS Mem. Argument Section II; GT Mem. Argument Section
       II.)
               Third, none of the claims against Mr. Chu and Steptoe & Johnson
       withstands Rule 12(b)(6) and Rule 9(b) challenge. (See LBBS Mem. Argument
       Section III; GT Mem. Argument Section III.) The Complaint is devoid of any
       factual allegations that would support any plausible inference that Mr. Chu and
       Steptoe & Johnson, by filing and arguing a motion to dismiss on behalf of their
       clients—which was granted and that decision was upheld—violated any rights of
       Plaintiff. Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).
                 On Plaintiff’s fraud claim, for example, the Complaint nowhere alleges
       facts showing that Mr. Chu or Steptoe & Johnson LLP made any false statements
       at all, let alone that they did so with scienter or intent, as required by Rules 9(b)
       and 12(b)(6). (See LBBS Mem. Argument Section III. B; GT Mem. Argument
       Section III.B.)
              Likewise, even were Plaintiff permitted to raise in this plenary proceeding
       alleged violations of N.Y. Judiciary Law § 487 (and he is not, as a matter of law),
       the Complaint alleges no facts showing intentional “egregious misconduct” or a
       “chronic and extreme pattern of legal delinquency” by Mr. Chu or Steptoe &
       Johnson that the statute requires. (See LBBS Mem. Argument Section III.C; GT
       Mem. Argument Section III.C.) Plaintiff also has failed to allege proximately
       caused damages by any conduct by Mr. Chu or Steptoe & Johnson LLP.
              Last, the Complaint alleges no facts showing that the defense provided by
       Mr. Chu and Steptoe & Johnson LLP on their clients’ successful motion to
       dismiss constituted the “outrageous” and “extreme” and “atrocious” conduct upon
       which a viable claim for intentional infliction of emotional distress may be based
       as a matter of law. (See LBBS Mem. Argument Section III.D; GT Mem.
       Argument Section III.D.)
       In conclusion, the Court should stop this latest effort to reverse an adverse decision

reached in part through entirely appropriate and proper legal representation by Mr. Chu and

Steptoe & Johnson LLP. Left unchecked, there is every indication that Plaintiff will continue to

cause these defendants to incur costs and waste resources responding to meritless claims.

Mr. Chu and Steptoe & Johnson LLP respectfully request that the Court to grant their motion to


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dismiss, and further to order such relief that will mitigate and prevent further waste and burden

on the Court and them, and grant costs and fees. (See LBBS Mem. Argument Section IV; GT

Mem. Argument Section IV.)


Dated: New York, New York
       May 20, 2016


                                                     DEWEY PEGNO & KRAMARSKY LLP


                                                     By:     /s/ Thomas E. L. Dewey
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